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                                                                         Exhibit B

                                                                      Expense Detail

Name         Date                Description                                                                            Expense Category   Amount
MM                   12/6/2023   Shipping and container cost for Lordstown laptop back to Farmington Hills office       Administrative     $     167.36
WB                  12/20/2023   UPS Charges - Vendor Prepaids With No Claims Letters - Round 2                         Administrative     $     694.17
WB                  12/29/2023   UPS Charges - Vendor Prepaids With No Claims Letters                                   Administrative     $     460.15
TOTAL                                                                                                                                      $   1,321.68




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